      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                            No. 3D24-1005
                  Lower Tribunal No. 23-190260-CC-05
                          ________________


                            Baha Benyamin,
                                  Appellant,

                                     vs.

                     450 North River Drive, LLC,
                                  Appellee.



     An Appeal from a non-final order from the County Court for Miami-
Dade County, Miesha Darrough, Judge.

     Hodson Law Firm, P.A., and Donald J. Hodson, for appellant.

     Levine &amp; Partners, P.A., and Allan S. Reiss, for appellee.


Before FERNANDEZ, SCALES and GORDO, JJ.

     GORDO, J.
                           ON MOTION TO DISMISS

      Baha Benyamin (“Benyamin”) appeals a non-final order in favor of 450

North River Drive, LLC (“450 North River”) asserting it is appealable pursuant

to Florida Rule of Appellate Procedure 9.130(a)(3)(C)(i). We find the non-

final order did not determine jurisdiction of the person as required by rule

9.130(a)(3)(C)(i), and therefore dismiss the appeal for lack of jurisdiction.

      The non-final order on appeal denied Benyamin’s motion to quash

service of process and to dismiss 450 North River’s complaint. Because the

non-final order did not actually adjudicate and determine the personal

jurisdiction issue, we dismiss the appeal for lack of jurisdiction. See Fla. R.

App. P. 9.130(a)(3)(C)(i) (“Appeals to the district courts of appeal of nonfinal

orders are limited to those that . . . determine . . . jurisdiction of the person.”);

Frier v. Frier, 13 So. 3d 145, 146 (Fla. 1st DCA 2009) (“[O]nly those

interlocutory orders that determine issues involving service of process or

applicability of the long arm statute are appealable under this section of

Florida Rule of Appellate Procedure 9.130. To fall within the scope of the

rule, however, an order must actually make a determination as to personal

jurisdiction.   Therefore, where a motion challenging the trial court's in

personam jurisdiction is denied without necessarily making a determination

as to whether the court has jurisdiction over the person, the order is not



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appealable as an order that determined jurisdiction of the person.”) (internal

quotation and citation omitted); Dexx Med. Indus., CA v. Fitesa Naotecidos

S.A., 346 So. 3d 1215, 1217-18 (Fla. 3d DCA 2022) (“We find the challenged

non-final order[] do[es] not make the necessary determination of jurisdiction

to trigger rule 9.130(a)(3)(C)(i)’s applicability . . . We are bound by this

Court's precedent, the relevant rule and the four corners of the trial court's

order when making a jurisdictional inquiry. We therefore must dismiss a non-

final order that does not determine the issue of jurisdiction.”).

      Dismissed.




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